    Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 1 of 45 PageID #:8702




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

CLIFF NIIRANEN and                                    )
ROBERT TREADWAY,                                      )
                                                      )
                Plaintiffs,                           )
                                                      )           No. 20-cv-06781
        v.                                            )
                                                      )           Judge Andrea R. Wood
CARRIER ONE, INC. and                                 )
IVAN SAMAROV,                                         )
                                                      )
                Defendants.                           )

                              MEMORANDUM OPINION AND ORDER

        Plaintiff Robert Treadway is a former over-the-road driver for Defendant Carrier One,

Inc. (“Carrier One”). Treadway alleges that, during his employment, Carrier One and Defendant

Ivan Samarov failed to pay him all compensation owed and took unlawful deductions from his

wages, thereby violating the federal Truth-in-Leasing regulations, 49 C.F.R. § 376.1 et seq., and

the Illinois Wage Payment and Collection Act (“IWPCA”), 820 ILCS 115/1 et seq., as well as

breaching Carrier One’s contracts with Treadway. Now before the Court are Defendants’ motion

for summary judgment (Dkt. No. 112) and Treadway’s motion for partial summary judgment

(Dkt. No. 115), as well as Defendants’ motion to strike Treadway’s statement of facts and

attorney’s affidavit in support of his summary judgment motion (Dkt. No. 131). For the reasons

that follow, Defendants’ motion to strike is denied, and the parties’ summary judgment motions

are each granted in part and denied in part.1


1
 Treadway originally brought this lawsuit together with a co-Plaintiff, Cliff Niiranen. After the parties’
motions for summary judgment were fully briefed, Niiranen settled with Defendants and, as a result, his
claims were voluntarily dismissed. (See Dkt. No. 163.) Additionally, this case was filed as a putative class
action. However, in a Memorandum Opinion and Order dated January 11, 2022, the Court found that both
Niiranen and Treadway had waived their rights to bring any claims on behalf of a class and thus granted
Defendants’ motion to dismiss any such claims. (1/11/2022 Mem. Op. and Order at 11–18, Dkt. No. 52.)
  Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 2 of 45 PageID #:8703




                                          BACKGROUND

        I.      Local Rule 56.1 and Defendants’ Motion to Strike

        In response to Treadway’s motion for summary judgment, Defendants assert that

Treadway’s statement of facts does not comply with Northern District of Illinois Local Rule

56.1. For that reason, Defendants also separately filed a motion to strike Treadway’s statement of

facts and the accompanying affidavit of one of Treadway’s attorneys.

        Local Rule 56.1 requires a party moving for summary judgment to submit a statement of

material facts that it contends entitle it to summary judgment. L.R. 56.1(a)(2), 56.1(d). The

statement of facts “must consist of concise numbered paragraphs” and “[e]ach asserted fact must

be supported by citation to the specific evidentiary material . . . that supports it.” L.R. 56.1(d)(1),

(2). The party opposing summary judgment must then file a response to the movant’s statement.

L.R. 56.1(b)(2). The response should respond to each numbered paragraph in the moving party’s

statement and, where the opposing party disputes a fact, it must include specific references to the

affidavits, parts of the record, or other supporting materials relied on to controvert that fact. L.R.

56.1(e). “Asserted facts may be deemed admitted if not controverted with specific citations to

evidentiary material.” L.R. 56.1(e)(3). To the extent the opposing party wishes to present any

additional facts, it may do so by submitting a separate statement of additional facts that complies

with Local Rule 56.1(d), which also governs the moving party’s statement of material facts. L.R.

56.1(b)(3). Then, the moving party must submit a response to those additional facts subject to the

requirements for the opposing party’s response to the statement of material facts set forth in

Local Rule 56.1(e). L.R. 56.1(c)(2).




As a result, only Treadway’s individual claims against Carrier One and Samarov remain in this case.
Those are the claims that are the subject to the instant motions.



                                                   2
    Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 3 of 45 PageID #:8704




        According to Defendants, Treadway’s Local Rule 56.1 submissions run afoul of Local

Rule 56.1 in several ways. Their main objection is that the factual assertions in Treadway’s

submissions lack competent evidentiary support. Defendants’ predominant complaint relates to

the affidavit of one of Treadway’s counsels, Rachel Smit (“Smit Affidavit”). Under Federal Rule

of Civil Procedure 56(c)(4), an affidavit “used to support or oppose a motion [for summary

judgment] must be made on personal knowledge, set out facts that would be admissible in

evidence, and show that the affiant or declarant is competent to testify on the matters stated.”

Defendants claim that the Smit has no personal knowledge of the events underlying this case,

rendering her entire affidavit inadmissible. Thus, they contend that the Smit Affidavit should be

stricken and ask that the Court disregard the factual assertions that rely on the affidavit for

support.

        Defendants’ objection to the Smit Affidavit is wholly baseless. Notably, Treadway does

not rely on the Smit Affidavit itself as substantive evidence supporting his factual assertions but

instead uses it as a means of introducing documents and other evidence produced in discovery.2

Introducing materials in the record through an authenticating affidavit is not required for

purposes of summary judgment. See, e.g., Cehovic-Dixneuf v. Wong, 895 F.3d 927, 931 (7th Cir.

2018) (“It is not unusual for parties to submit documentary evidence to support or oppose

summary judgment . . . without fully authenticating the documents with affidavits thorough

enough to overcome any and all evidentiary objections that could be raised.”); Cirves v. Syed,

No. 19-cv-725-jdp, 2022 WL 7458760, at *1 (W.D. Wis. Oct. 13, 2022) (“[F]ollowing the 2010


2
  Nearly all factual statements in Treadway’s Local Rule 56.1 submissions cite directly evidence
introduced through the Smit Affidavit rather than the affidavit itself. The only factual assertions that cite
directly to the Smit Affidavit are those that set forth a damages-related figure that the affiant derived from
the evidence. Even then, the cited portion of the Smit Affidavit itself cites to the evidence containing the
data on which that figure is based.



                                                      3
  Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 4 of 45 PageID #:8705




amendment to Federal Rule of Civil Procedure 56, evidence submitted in support or opposition

to summary judgment need not be authenticated.” (internal quotation marks omitted)); see also

Fed. R. Civ. P. 56(c)(1)(A) (“A party asserting that a fact cannot be or is genuinely disputed

must support the assertion by . . . citing to particular parts of materials in the record . . . .”

(emphasis added)). That is not to say that inadmissible evidence such as documents not capable

of authentication can be considered at the summary judgment stage. Collins Eng’rs, Inc. v.

Travelers Prop. Cas. Co. of Am., No. 19-cv-01203, 2022 WL 20840940, at *1 (N.D. Ill. Mar. 29,

2022). But it is up to the party opposing that evidence to raise a proper objection. See Fed. R.

Civ. P. 56(c)(2) (“A party may object that the material cited to support or dispute a fact cannot be

presented in a form that would be admissible in evidence.”); see also Fenje v. Feld, 301 F. Supp.

2d 781, 811 (N.D. Ill. 2003) (“The moving party . . . need not explicitly set forth in its Local

Rule 56.1[] statement the basis . . . for each piece of evidence being admissible nor need it

anticipate and respond in advance to every possible objection that might be raised to the

admissibility of a piece of evidence.”). Absent objection, “the Court can consider

unauthenticated documents on motions for summary judgment if it appears that they are capable

of authentication at trial.” Collins, 2022 WL 20840940, at *1 (internal quotation marks omitted).

        Here, Defendants make no specific challenge to the authenticity of any piece of evidence

introduced by the Smit Affidavit. Rather, Defendants assert that the affiant does not have

personal knowledge of the documents sought to be introduced as evidence and can only attest

that she had personal knowledge from her review of discovery that each piece of evidence was

produced in the litigation. Yet the reason that the affiant claims personal knowledge based on her

review of discovery is because “[d]ocuments produced by an opponent during discovery may be

treated as authentic.” Fenje, 301 F. Supp. 2d at 809. Given that Defendants neither deny that any




                                                   4
  Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 5 of 45 PageID #:8706




piece of evidence was produced during discovery nor dispute any document’s authenticity, the

Court is satisfied that all of Treadway’s evidence supporting his Local Rule 56.1 submissions is

capable of authentication at trial. See id. at 789 (“Even if a party fails to authenticate a document

properly or to lay a proper foundation, the opposing party is not acting in good faith in raising

such an objection if the party nevertheless knows that the document is authentic.”). To the extent

Defendants dispute any of Treadway’s factual assertions based solely on their objection to the

Smit Affidavit, the Court will treat that factual assertion as admitted.

       Another of Defendants’ objections to the adequacy of Treadway’s supporting evidence

faults certain factual assertions for citing the admissions in Defendants’ answer to the operative

First Amended Complaint. It is true that factual statements supported only by citation to

unverified pleadings generally do not provide a factual predicate in support of or opposition to

summary judgment. E.g., Mack v. City of Chicago, No. 16 C 7807, 2019 WL 1331786, at *4

(N.D. Ill. Mar. 25, 2019). As evidenced by the plain language of Rule 56, however, a party may

support a motion for summary judgment by citing “admissions.” Fed. R. Civ. P. 56(c)(1)(B); see,

e.g., Kohler v. Leslie Hindman, Inc., 80 F.3d 1181, 1185 (7th Cir. 1996) (“When a party in a

lawsuit makes an admission in its pleadings or in its answer to a request for admissions, it makes

a judicial admission that can determine the outcome of that lawsuit.”). Thus, if a defendant’s

“Answer admitted a fact, then that fact is fair game at summary judgment.” DuBose v. Ferrera

Candy Co., No. 22 CV 7147, 2024 WL 2088201, at *2 (N.D. Ill. May 9, 2024). Worse than

Defendants’ misapprehension of the “well-settled rule that a party is bound by what it states in its

pleadings,” Help At Home Inc. v. Medical Capital, LLC, 260 F.3d 748, 753 (7th Cir. 2001), is the

fact that Defendants respond to all of Treadway’s factual assertions citing to the answer with one

word: “Admit.” (Defs.’ Revised Resp. to Pl.’s Statement of Facts in Supp. of Mot. for Partial




                                                  5
    Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 6 of 45 PageID #:8707




Summ. J. (“DRPSF”) ¶¶ 1–6, 9–10, Dkt. No. 151.) The Court finds Defendants’ subsequent

request to strike those twice-admitted factual assertions to be not merely mistaken but frivolous.

        Finally, Defendants argue that certain of Treadway’s factual assertions are conclusory,

argumentative, and unsupported. For many of the accused factual assertions, the Court fails to

see the claimed impropriety. (See DRPSF 16, 18–19, 55, 57, 78.) None are blatantly

argumentative.3 Each is supported with a citation to the record, and Defendants’ response does

not address why the cited evidence fails to support the factual assertion. To the extent that any

factual assertion is problematic, the issue does not warrant striking any part of Treadway’s Local

Rule 56.1 submissions.

        As Defendants recognize in their motion to strike, the purpose of Local Rule 56.1 “is to

make the summary judgment process less burdensome on district courts, by requiring the parties

to nail down the relevant facts and the way they propose to support them.” Sojka v. Bovis Lend

Lease, Inc., 686 F.3d 394, 398 (7th Cir. 2012). Defendants’ unfounded and baseless objections

run counter to this purpose and unnecessarily complicate what should have been a relatively

straightforward inquiry into whether there is a genuine dispute regarding Treadway’s factual

assertions. This Court is not “required to wade through improper denials . . . in search of a

genuinely disputed fact.” Bordelon v. Chi. Sch. Reform Bd. of Trs., 233 F.3d 524, 529 (7th Cir.

2000). In sum, Defendants’ motion to strike is denied, and the Court deems admitted all of

Treadway’s factual assertions that Defendants do not squarely controvert with specific evidence

in the record.




3
 There is one factual assertion that might be considered argumentative due to its description of Carrier
One as acting “indiscriminately” (DRPSF ¶ 78), but that factual assertion is no longer material to this case
as it concerns the co-Plaintiff whose claims have since been voluntarily dismissed.



                                                     6
  Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 7 of 45 PageID #:8708




       II.     Factual Background

       Subject to the above considerations, the facts summarized below are undisputed.

       Carrier One is an over-the-road flatbed transportation services company that transports

freight—predominantly steel, building materials, and heavy equipment. (DRPSF ¶ 1.) Carrier

One has received authority from the U.S. Department of Transportation to operate as a motor

carrier. (Id. ¶ 2.) Ivan Samarov is both the president and the owner of Carrier One. (DRPSF ¶ 10;

Pl.’s Corrected Resp. to Def.’s Statement of Material Facts in Supp. of Mot. for Summ. J.

(“PRDSF”) ¶ 40, Dkt. No. 157.) Through January 2020, Carrier One was headquartered and had

its principal place of business in Alsip, Illinois. (DRPSF ¶¶ 5–6; PRDSF ¶¶ 42–43.) In January

2020, Carrier One moved its headquarters to Lake County, Indiana, where it remains. (DRPSF

¶ 9; PRDSF ¶ 42.)

       While Carrier One directly employed about 26 to 32 employees, it independently

contracted with all the drivers it hired to transport its customers’ freight. (DRPSF ¶¶ 3, 7;

PRDSF ¶¶ 44–45.) One of those drivers was Robert Treadway. (DRPSF ¶ 4; PRDSF ¶ 24.)

Before Treadway began driving for Carrier One, he attended an orientation for new drivers at

Carrier One’s then-headquarters in Illinois. (DRPSF ¶¶ 13, 15; PRDSF ¶ 48.) At the orientation,

Treadway and other new Carrier One drivers learned about Carrier One’s policies, procedures,

and rules; met with their assigned fleet managers; and completed the company’s standard

paperwork. (DRPSF ¶¶ 16–17.) Because Treadway did not own his own truck, he also attended

an orientation session where Carrier One arranged for him to lease a truck from Impel Union, a

truck leasing company. (DRPSF ¶ 18; PRDSF ¶ 27; Defs.’ Resp. to Pl.’s Statement of Additional

Facts in Opp’n to Defs.’ Mot. for Summ. J. (“DRPSAF”) ¶ 2, Dkt. No. 143.) He subsequently

entered into an agreement to lease a truck from Impel Union (“Truck Lease”). (PRDSF ¶ 27.)

Then, to use that truck in his work for Carrier One, Treadway entered into lease agreements with


                                                  7
    Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 8 of 45 PageID #:8709




Carrier One under which Carrier One leased the truck from Treadway. (DRPSF ¶¶ 19–20;

PRDSF ¶ 24.)

        On August 16, 2017, Treadway and Carrier One entered into an Independent Contractor

Equipment Lease Agreement (“2017 Lease”4), which was a standard form lease. (DRPSF ¶ 20;

PRDSF ¶ 24; Smit Aff., Ex. 8, 2017 Lease, Dkt. No. 117-8.) The 2017 Lease includes Schedules

A, B, and C. (DRPSF ¶ 20.) Relevant here, Schedule B provides details regarding how Treadway

would be compensated and Schedule C specifies Treadway’s and Carrier One’s respective

insurance obligations. (DRPSF ¶¶ 22–23; PRDSF ¶¶ 25–26, 30, 53.) The terms of the 2017

Lease governed Treadway’s relationship with Carrier One through October 2019. (DRPSF ¶ 64;

PRDSF ¶ 24.) On October 3, 2019, Treadway and Carrier One entered into a new Independent

Contractor Equipment Lease Agreement with revised terms (“2019 Lease”). (DRPSF ¶¶ 64–69.)

As with the 2017 Lease, the 2019 Lease includes a Schedule B detailing Treadway’s

compensation and a Schedule C addressing the parties’ insurance obligations. (DRPSF ¶¶ 65–66,

69; Smit. Aff., Ex. 28, 2019 Lease, Dkt. No. 117-28.) In addition, the 2019 Lease includes an

Addendum Pertaining to Equipment Lease Charges & Deduction Authorization (“Addendum to

2019 Lease”), which authorizes Carrier One to deduct from Treadway’s compensation certain

sums to be transferred to Impel Union. (DRPSF ¶ 68; 2019 Lease at C-001524–25.)

        While Treadway worked for Carrier One, he received settlement statements setting out

how Carrier One calculated Treadway’s compensation for the work he performed in a particular



4
  Treadway and Carrier One executed another Independent Contractor Equipment Lease Agreement on
January 26, 2018. (PRDSF ¶ 24.) Because the material terms of that agreement are substantially similar to
the one Treadway executed in August 2017, for simplicity, the Court refers to both as the 2017 Lease.
(Compare Smit Aff., Ex. 8, 2017 Lease, Dkt. No. 117-8, with Defs.’ Statement of Material Facts in Supp.
of Mot. for Summ. J., Ex. 13 to Ex. B, Jan. 26, 2018 Independent Contractor Equipment Lease
Agreement, Dkt. No. 114-2.)



                                                   8
  Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 9 of 45 PageID #:8710




week. The settlement statements first list the settlement for each individual load that Treadway

had hauled in that week. (DRPSF ¶¶ 24–26.) An individual load’s settlement begins with a top

line with columns for “Gross Pay,” the 80% rate, and net pay. (DRPSF ¶¶ 24–25; Smit Aff., Ex.

10, Treadway Settlement Statements, Dkt. No. 117-10.) Net pay was equal to 80% of the listed

gross pay. Following the net pay line, an individual load settlement has a subsection for “Order

Deductions/Earnings,” which lists individual deductions subtracted from and earnings added to

the net pay for that particular load. (DRPSF ¶ 26; Treadway Settlement Statements.) The final

line of an individual load settlement states the “ORDER TOTAL,” summing the net pay,

deductions, and earnings for the individual load. (Treadway Settlement Statements.) Following

the individual load settlements are separate sections for “Tractor Deductions/Earnings,”

“DEDUCTIONS,” and “REIMBURSEMENTS.” (DRPSF ¶ 30; Treadway Settlement

Statements.) At the end of the week’s settlement statement is a final figure representing

Treadway’s overall compensation for his work that week. (Treadway Settlement Statements.)

       On November 18, 2020, Carrier One terminated Treadway as its driver. (DRPSF ¶ 80;

PRDSF ¶ 38.) Following his termination, Treadway retained possession of the truck he had

leased from Impel Union, used that truck in his work for a new employer, and continued to make

payments on the Truck Lease. (PRDSF ¶¶ 28–29.)

       Around the same time as his termination, Treadway brought this lawsuit alleging that

Defendants failed to pay him all the compensation he was owed under the 2017 Lease and the

2019 Lease. Count I of the First Amended Complaint (Dkt. No. 30) claims that both Defendants

violated the IWPCA by taking unlawful deductions from Treadway’s compensation. In Count II,

Treadway asserts a breach of contract claim against both Defendants for failing to compensate




                                                9
 Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 10 of 45 PageID #:8711




him as promised under the 2017 Lease and the 2019 Lease. Count III is asserted against Carrier

One only and alleges that it violated multiple Truth-in-Leasing regulations.

                                          DISCUSSION

       Under Federal Rule of Civil Procedure 56, summary judgment is appropriate if the

admissible evidence considered as a whole shows that there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law, even after all reasonable

inferences are drawn in the non-movant’s favor. Dynegy Mktg. & Trade v. Multiut Corp., 648

F.3d 506, 517 (7th Cir. 2011). Here, there is substantial overlap between the Truth-in-Leasing

and IWPCA issues on which Treadway seeks partial summary judgment and the arguments in

Defendants’ motion for summary judgment as to all three of the First Amended Complaint’s

Counts. In the case of cross-motions for summary judgment, the Court must take “the facts in the

light most favorable to the non-movant, first for one side and then for the other.” R.J. Corman

Derailment Servs., LLC v. Int’l Union of Operating Eng’rs, Loc. Union 150, AFL-CIO, 335 F.3d

643, 648 (7th Cir. 2003).

       I.      Truth-in-Leasing Regulations

       Under 49 U.S.C. § 14102(a)(4), the U.S. Department of Transportation has the authority

to “issue regulations governing the lease of vehicles between authorized carriers and owner[]-

operators”— “owner-operators” meaning “trucker drivers who own their trucks and lease them

to shippers or authorized carriers.” Shimko v. Jeff Wagner Trucking, LLC, No. 11-cv-831-wmc,

2013 WL 10075919, at *2 (W.D. Wis. June 28, 2013). The Truth-in-Leasing regulations, 49

C.F.R. § 376 et seq., were promulgated pursuant to that statutory authority. Their purpose is “to

promote full disclosure between the carrier and owner-operator in the leasing contract, to

promote the stability and economic welfare of the independent trucker segment of the motor

carrier industry, and to eliminate or reduce opportunities for skimming and other illegal


                                                10
    Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 11 of 45 PageID #:8712




practices.” Brant v. Schneider Nat’l, Inc., 43 F.4th 656, 678 (7th Cir. 2022) (quoting Lease and

Interchange of Vehicles, 43 Fed. Reg. 29812, 291812 (July 11, 1978)).

        Relevant here, “49 C.F.R. § 376.12 requires that federally regulated motor carriers

include certain provisions in their leases with independent owner-operators and adhere to and

perform these provisions.” Brinker v. Namcheck, 577 F. Supp. 2d 1052, 1060 (W.D. Wis. 2008)

(internal quotation marks omitted). Treadway’s First Amended Complaint alleges that Carrier

One violated multiple of those Truth-in-Leasing regulations and he seeks summary judgment as

to certain of the claimed violations.5 On the other hand, Defendants contend the Court should

enter summary judgment finding Carrier One not liable for any Truth-in-Leasing violation.

                A.      Actual Damages

        Before addressing the individual alleged violations, the Court considers Defendants’

contention that Treadway has failed to establish that he suffered actual damages as a result of any

of the alleged Truth-in-Leasing violations. Under 49 U.S.C. § 14704(a)(2), which supplies the

private right of action for Truth-in-Leasing violations, a carrier is “liable for damages sustained

by a person as a result of an act or omission of that carrier . . . in violation of this part.” In their

earlier motion to dismiss for failure to state a claim, Defendants argued that the Truth-in-Leasing

claim must be dismissed for failing to plead actual damages. While this Court agreed that

“[r]equiring actual damages is consistent with the language of § 14704(a)(2),” it found at the

pleading stage that the First Amended Complaint adequately alleged that Carrier One’s Truth-in-




5
  It is not entirely clear which Truth-in-Leasing violations alleged in the First Amended Complaint are not
addressed in Treadway’s motion for partial summary judgment. His motion notes only that he has
“alleged other [Truth-in-Leasing] regulations in the First Amended Complaint” and “reserve[s his] right
to pursue additional [Truth-in-Leasing] violations at trial.” (Pl.’s Mem. in Supp. of Mot. for Summ. J. at 3
n.2, Dkt. No. 115.)



                                                    11
 Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 12 of 45 PageID #:8713




Leasing violations resulted in actual damages. Niiranen v. Carrier One, Inc., No. 20-cv-06781,

2022 WL 103722, at *5 (N.D. Ill. Jan. 11, 2022).

       Defendants now contend that, to the extent Treadway can establish that Carrier One

violated any Truth-in-Leasing regulation, they would still be entitled to summary judgment

because the record reveals no evidence that any violation caused Treadway actual damages.

According to Defendants, for Treadway to prove that he suffered actual damages, he must show

detrimental reliance. Specifically, a plaintiff’s evidence must “show that they suffered a loss

because they relied on an inaccurate or incomplete disclosure,” or, put another way, that “but for

the violation, [they] would have made different choices, and, thereby, saved money.’” Owner-

Operator Indep. Drivers Ass’n, Inc. v. Landstar Sys., Inc., 622 F.3d 1307, 1325–26 (11th Cir.

2010) (internal quotation marks omitted). Because the evidence here fails to demonstrate such

detrimental reliance on Treadway’s part, Defendants argue, they are entitled to summary

judgment on the entirety of his Truth-in-Leasing claim for want of actual damages.

       Although the Court agrees that proof of actual damages from a Truth-in-Leasing violation

will usually entail a showing of detrimental reliance, the Court cannot find that this will always

be the case. To be sure, Treadway cannot demonstrate his actual damages by “simply pointing to

[Carrier One’s] undisclosed profits” but must instead “show how [he] sustained damages because

of the violations.” Landstar, 622 F.3d at 1325. As this Court previously observed, actual

damages may be shown where “the carrier’s Truth-in-Leasing violations resulted in [the owner-

operator] being underpaid.” Niiranen, 2022 WL 103722, at *5; see also Hill v. Cargo Runner

Co., No. 22-CV-00910, 2023 WL 6213674, at *11 (N.D. Ill. Sept. 25, 2023) (finding that an

owner-operator’s injury and actual damages can be shown from “the loss of money”). Thus, to

prove actual damages, Treadway’s evidence must establish a causal relationship between the




                                                12
 Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 13 of 45 PageID #:8714




particular Truth-in-Leasing violation and his underpayment. See Owner-Operator Indep. Drivers

Ass’n v. Landstar Sys., Inc., No. 3:02-cv-1005-J-25MCR, 2012 WL 6827463, at *7 (M.D. Fla.

Aug. 30, 2012) (explaining that the detrimental-reliance requirement can be satisfied with

evidence “establishing a causal link between [the defendant’s] noncompliance with [the

particular Truth-in-Leasing regulation] and [the owner-operator’s] damages.”). He must then

prove the amount necessary “to put [him] in the same position [he] would have occupied had

[Carrier One’s] wrongdoing not occurred.” Owner-Operator Indep. Drivers Ass’n v. Arctic

Express, Inc., 288 F. Supp. 2d 895, 906 (S.D. Ohio 2003).

       Given that the Truth-in-Leasing regulations largely impose disclosure requirements upon

motor carriers, an owner-operator’s injury from a violation typically comes from the financial

harm they suffered from their reliance on an inaccurate or incomplete disclosure. Landstar, 622

F.3d at 1326; see also Derolf v. Risinger Bros. Transfer Inc., 259 F. Supp. 3d 876, 886 (C.D. Ill.

2017) (explaining that, to plead actual damages, the alleged financial harm must be “attributable

to an[] alleged deficiency in the transparency of the lease terms”). Other statutes imposing notice

and disclosure rules likewise require actual damages be proved with evidence of detrimental

reliance. E.g., Nevarez v. O’Connor Chevrolet, Inc., 303 F. Supp. 2d 927, 934 (N.D. Ill. 2004)

(“In order to recover actual damages under [the Truth in Lending Act, 15 U.S.C. § 1601 et seq.],

a plaintiff must establish a causal connection between the inaccurate disclosure and her injury by

demonstrating that she relied on the inaccurate disclosure and thereby was effectively prevented

from obtaining better credit terms elsewhere.” (internal quotation marks omitted)). And the

Landstar case that Defendants cite in support of a detrimental-reliance requirement involved

disclosure violations. Owner-Operator Indep. Drivers Ass’n v. C.R. England, Inc., No. 2:02-CV-

950 TS, 2013 WL 588893, at *8 (D. Utah Feb. 11, 2013).




                                                13
 Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 14 of 45 PageID #:8715




       Yet not all the Truth-in-Leasing regulations impose pure disclosure requirements. Some

mandate that leases contain certain substantive provisions that “shall be adhered to and

performed by the authorized carrier.” 49 C.F.R. § 376.12. For example, § 376.12(k) provides that

where a lease requires an escrow fund, it must provide that “while the escrow fund is under the

control of the carrier, the carrier shall pay interest on the escrow fund” and “shall further specify

that in no event shall the escrow fund be returned later than 45 days from the date of

termination.” 49 C.F.R. § 376.12(k)(5), (6). While requiring proof of detrimental reliance

“makes sense in the context of disclosure violations, it does not make sense in the case of

[§ 376.12(k)] escrow violations.” C.R. England, 2013 WL 588893, at *8. This Court therefore

previously recognized that Treadway had a cognizable claim for “actual damages from Carrier

One’s failure both to pay interest on its escrow deductions and then return those deductions in

full after [Treadway] stopped working for it.” Niiranen, 2022 WL 103722, at *5.

       Even as to disclosure violations, the Court does not agree with Defendants insofar as they

suggest that Treadway must affirmatively demonstrate what he would have done differently had

Carrier One complied with the particular Truth-in-Leasing regulation. Again, the focus is on

whether and how the regulatory violation caused Treadway financial harm. If a carrier uses an

omitted disclosure as cover for an underpayment, the owner-operator has experienced actual

damages. Cf. Brant, 43 F.4th at 679 (finding that actual damages were adequately pleaded where

the plaintiff alleged that the defendant’s failure to make required disclosures “prevented him

from contesting the alleged underpayment”); Hill, 2023 WL 6213674, at *12 (“[T]he Complaint

not only alleges violations based upon improper disclosures, but it also alleges that Defendant, in

fact, charged Plaintiffs a higher amount than specified in the Lease Agreements. Such

overcharges, if true, sufficiently establish actual damages.”). In such a case, there is no good




                                                 14
 Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 15 of 45 PageID #:8716




reason to insist that the owner-operator introduce evidence of how he would have acted in a

counterfactual scenario where he had access to the information necessary to detect his

underpayment. Rather, it is enough that, “as a result of [the] violation, [Treadway was]

underpaid—that is, had [Treadway] received accurate [disclosures] from [Carrier One] and

compared them to what [he was] actually paid, [he] would have seen that [he] had been

underpaid and been in a position to demand more money.” Cervantes v. CRST Int’l, Inc., No. 20-

CV-75 CJW-KEM, 2022 WL 22836508, at *7 (N.D. Iowa Aug. 16, 2022).

       Ultimately, Treadway must prove each of the alleged Truth-in-Leasing violations and

then show his actual damages with respect to each individual established violation. Cf. Hill, 2023

WL 6213674, at *11 (holding that a Truth-in-Leasing claim “must plausibly allege actual

damages as to each alleged violation”). Whether a particular regulatory violation has actually

damaged Treadway may well vary based on the nature of the violation and the facts.

Accordingly, the Court will conduct a violation-by-violation analysis of Treadway’s proof of

actual damages, subject to the above considerations.

               B.      Clear Specification of Compensation

       Treadway argues that both the 2017 Lease and the 2019 Lease fail to specify clearly his

compensation, in violation of 49 C.F.R. § 376.12(d). Under § 376.12(d), “[t]he amount to be paid

by the authorized carrier for equipment and driver’s services shall be clearly stated on the face of

the lease or in an addendum which is attached to the lease” and may be expressed in multiple

ways, including “as a percentage of gross revenue.” The Court addresses Treadway’s contention

first as to the 2017 Lease and then as to the 2019 Lease.

                       1.     2017 Lease

       Schedule B to the 2017 Lease states that “Compensation shall be 80% of the gross

revenue for all loads, paid Friday for all paperwork delivered the preceding Monday.” (DRPSF


                                                15
 Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 16 of 45 PageID #:8717




¶ 21.) Because the 2017 Lease provides for Treadway to be compensated based on a percentage

of gross revenue, Carrier One was also required to comply with § 376.12(g). Specifically, under

that Truth-in-Leasing regulation:

       When a lessor’s [i.e., driver or owner-operator] revenue is based on a percentage of
       the gross revenue for a shipment, the lease must specify that the authorized carrier
       will give the lessor, before or at the time of settlement, a copy of the rated freight
       bill, or, in the case of contract carriers, any other form of documentation actually
       used for a shipment containing the same information that would appear on a rated
       freight bill.

49 C.F.R. § 376.12(g). “This disclosure requirement protects owner-operators from unscrupulous

carriers who might be tempted to hide such information, to underpay for the shipment, and to

pocket the difference. Without the requirement that this information be made available before

settlement, drivers . . . might never know if they were being underpaid.” Brant, 43 F.4th at 679.

                               a.      Violations

       Despite basing Treadway’s compensation on gross revenue, nowhere does the 2017

Lease actually define gross revenue. Treadway contends that creates uncertainty as to the

meaning of gross revenue in the 2017 Lease, which violates § 376.12(d)’s command that the

lease clearly state the amount of pay to which a driver is entitled.

       Multiple courts have found that, where a lease expresses a driver’s compensation as a

percentage of gross revenue, the carrier’s failure to “clearly explain how [it] arrives at its figure

for gross revenue” violates § 376.12(d). Cunningham v. Lund Trucking Co., 662 F. Supp. 2d

1262, 1272 (D. Or. 2009); see also Owner-Operator Indep. Drivers Ass’n v. Bulkmatic Transp.

Co., 503 F. Supp. 2d 961, 969–70 (N.D. Ill. 2007) (finding a violation of § 376.12(d) where “the

Lease does not define ‘gross revenue’ nor does it specifically state which items, if any, may be

excluded from gross revenue before calculating owner-operator compensation”). This Court

agrees that the 2017 Lease is ambiguous as to the meaning of gross revenue.



                                                  16
 Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 17 of 45 PageID #:8718




       In response, Defendants assert that Carrier One explained to its drivers the meaning of

gross revenue at their orientation and points to the materials that it provided its drivers making

clear that gross revenue meant “everything, the total revenue for one particular load that has been

invoiced.” (PRDSF ¶ 45; Pl.’s Corrected Resp. to Defs.’ Statement of Additional Facts in Opp’n

to Pl.’s Mot. for Partial Summ. J. (“PRDSAF”) ¶¶ 23, 25, 32–33, 38, Dkt. No. 155.) Yet Carrier

One’s reliance on extrinsic evidence of its efforts to advise owner-operators on the meaning of

gross revenue simply underscores the failure of the 2017 Lease to comply with § 376.12(d)’s

plain language requirement that the driver’s compensation be clearly stated on the face of the

lease or in the attached Schedule B addendum. Cunningham, 662 F. Supp. 2d at 1272 (“While

Lund has asserted that she explained how [the defendant] compensates owner-operators, her oral

explanation does not satisfy the Truth-in-Leasing requirement that compensation ‘be clearly

stated on the face of the lease.’” (quoting 49 C.F.R. § 376.12(d))).

       In addition, Treadway contends that Carrier One failed to comply with § 376.12(g) by

including in the 2017 Lease a provision making clear that Treadway had a right to receive a rated

freight bill and by failing actually to provide Treadway with a freight bill or a document with all

the information normally contained in a freight bill. The 2017 Lease unquestionably runs afoul

of this regulation, given the absence of a provision entitling Treadway to the receipt of a freight

bill. (DRPSAF ¶ 7.) Nor did Carrier One provide Treadway with a freight bill before or at the

time of settlement. (DRPSF ¶ 49.)

                               b.     Damages

       Having determined that the 2017 Lease fails to clearly state Treadway’s compensation on

its face, the Court turns to consider the damages Treadway asserts that he sustained as a result of

that violation. Both Treadway and Defendants seek summary judgment as to Treadway’s claim




                                                 17
    Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 18 of 45 PageID #:8719




for damages resulting from Carrier One’s retention of a portion of the fuel surcharge it charged

to clients. In addition, both seek summary judgment as to Treadway’s request for reimbursement

of undisclosed commissions that Carrier One paid to a load broker.

                                         i.   Fuel Surcharge

        For certain clients, Carrier One would invoice them for a fuel surcharge.6 Then, in the

Order Deductions/Earnings subsection for that load’s settlement, the fuel surcharge was included

as an earning added to the driver’s net pay. (DRPSF ¶ 26.) Yet even though the fuel surcharge is

listed separately and not included in the overall “Gross Pay” figure to which the 80% rate is

applied, Treadway received only 80% of the amount Carrier One billed to its clients for the fuel

surcharge. (Id. ¶¶ 26–27.) Treadway contends that Carrier One’s failure to clearly specify his

compensation allowed Carrier One wrongfully to retain 20% of the fuel surcharge, thereby

resulting in Treadway being underpaid.

        Despite his claim to suffering an actual injury from Carrier One’s retention of 20% of the

fuel surcharge, Treadway fails to demonstrate that he had any entitlement to 100% of the fuel

surcharge under the 2017 Lease. Instead, Treadway can only claim that, because the settlement

statements list the fuel surcharge as an earning separate from the gross pay figure, this somehow

means that the fuel surcharge should not be treated as gross revenue subject to the 80% rate

prescribed in Schedule B. The Court does not agree.

        As discussed above, the phrase “gross revenue” in the 2017 Lease is ambiguous. Under

the “generally accepted meaning of the phrase,” gross revenue is generally understood “to mean

the total amount charged to the shipper on the invoice for a shipment.” Bulkmatic, 503 F. Supp.


6
 Neither Treadway nor Defendants fully explain what a fuel surcharge is. Another district court has
described the fuel surcharge billed by the authorized carrier in that case as an amount billed to the
shipper-customer to account for an increase in fuel prices. Bulkmatic, 503 F. Supp. 2d at 965.



                                                    18
    Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 19 of 45 PageID #:8720




2d at 972; see also Elda Arnhold & Byzantio, LLC v. Ocean Atl. Woodland Corp., 284 F.3d 693,

701 (7th Cir. 2002) (identifying “trade usage in the relevant industry” as extrinsic evidence that

can be considered in resolving a contractual ambiguity). The Court believes that is the best way

to interpret the 2017 Lease’s use of “gross revenue.” See Bulkmatic, 503 F. Supp. 2d at 972

(adopting the generally understood meaning of “gross revenue”).7 Since the fuel surcharge was

part of what was invoiced to the customer, it was not wrongful for Carrier One also to subject it

to the 80% rate as part of gross revenue. Because Carrier One’s retention of 20% of the fuel

surcharge caused Treadway no actual damages, the Court grants Defendants’ motion for

summary judgment and denies Treadway’s motion as to the fuel-surcharge claim.

                                       ii.   Broker Commissions

        Until 2019, Carrier One employed a team of customer-service representatives who would

assist its drivers in finding and booking loads. (DRPSF ¶ 42.) Around April 2019, Carrier One

eliminated its customer-service team, and those representatives were hired by another entity

owned by Samarov, Sarisa Freight Solutions (“Sarisa”). (Id. ¶ 51.) Carrier One then hired Sarisa

to broker loads for its drivers. (PRDSAF ¶¶ 9, 12.) After Sarisa was hired as Carrier One’s

broker, Carrier One began invoicing Sarisa for a brokered load at an amount less than what

Carrier One’s customer paid for the shipment, with the difference representing Carrier One’s

payment to Sarisa for its services. (DRPSF ¶¶ 58–59.) Typically, Sarisa was paid about 8% of

the sum paid by the shipper-customer for the load. (Id. ¶ 59.) In turn, Carrier One paid Treadway

80% of the sum invoiced to Sarisa as opposed to the sum paid by the shipper-customer. (Id.


7
 To prove that Carrier One did not intend for gross revenue to encompass the fuel surcharge, Treadway
highlights language in a Mutual Expectations Agreement Carrier One presented to drivers. (Smit. Aff.,
Ex. 6, Dkt. No. 117-6.) However, the evidence submitted to the Court was signed by the now-dismissed
co-Plaintiff, Niiranen, and does not suffice to demonstrate a mutual understanding between Carrier One
and Treadway.



                                                  19
  Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 20 of 45 PageID #:8721




¶ 60.) Put another way, Sarisa’s commission was taken out from the figure represented to Carrier

One drivers as the gross revenue for a load. (Id.) Yet Carrier One never informed its drivers of

this change to its billing practices. (Id. ¶ 61.)

        Treadway contends that Sarisa was a mere alter ego of Carrier One composed of former

Carrier One employees performing the same services as before and accuses Carrier One of using

Sarisa as a means of skimming revenue from its drivers’ pay. For that reason, Treadway claims

he suffered damages due to Carrier One taking the so-called commissions paid to Sarisa out of

his compensation without his knowledge.

        While Treadway and Defendants disagree as to whether Sarisa is an alter ego of Carrier

One, the Court does not need to resolve that question to find actual damages under the 2017

Lease. Regardless of whether Sarisa was an alter ego or a true third-party broker, the 2017 Lease

did not allow Carrier One to take broker commissions out of Treadway’s compensation. Under

the interpretation of gross revenue adopted above, the gross revenue figure consists only of the

total amount charged to the shipper. That was how Treadway was paid until Sarisa took over

Carrier One’s customer-service work. And the undisputed evidence shows that the shipper was

invoiced more for a Sarisa-brokered load than the amount represented as gross revenue for that

load on Treadway’s settlement statements. Further, nowhere does the evidence reveal that

Carrier One clearly disclosed to its drivers that it would change its previous practice of using the

shipper’s full payment on a load as the gross revenue figure by deducting Sarisa’s commissions

from that sum. The Court therefore concludes that Carrier One’s violations of § 376.12(d) and

(g) allowed it to underpay drivers without their knowledge. See Piquion v. Amerifreight Sys.

LLC, No. 22 C 5690, 2023 WL 8113379, at *13 (N.D. Ill. Nov. 22, 2023) (“Section 376.12(g)




                                                    20
 Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 21 of 45 PageID #:8722




exists for th[e] very purpose [of] prevent[ing] motor carriers from underpaying drivers while

ensuring they are never the wiser.”).

       Because Treadway has demonstrated that he was actually damaged by Carrier One’s

subtraction of Sarisa’s broker commissions from the sum it represented to Treadway as gross

revenue, the Court finds that Treadway is entitled to summary judgment in his favor with respect

to Treadway’s Truth-in-Leasing claim arising from the Sarisa commissions during the time he

was working under the 2017 Lease. At this time, however, the Court cannot determine as a

matter of law the amount of Treadway’s damages from this particular violation because

Treadway’s evidence supports only a combined damages figure for both Treadway and his

former co-Plaintiff and also does not distinguish between damages incurred under the 2017

Lease and 2019 Lease.

                       2.     2019 Lease

       In contrast with the relatively succinct Schedule B to the 2017 Lease, Schedule B to the

2019 Lease provides substantially more details regarding the calculation of Treadway’s

compensation. Whereas the 2017 Lease compensated Treadway based on gross revenue, the

2019 Lease provides that Treadway would receive 80% of “linehaul revenue,” and gives

extensive detail as to the meaning of that term. (DRPSAF ¶ 12; 2019 Lease at 22.) Despite the

2019 Lease providing more fulsome details as to driver compensation, Treadway asserts that it

still fails to state clearly his compensation in light of Carrier One’s continued payment of

commissions to Sarisa.

       Notably, in defining “linehaul revenue,” the 2019 Lease states that the figure “means all

revenue billed by CARRIER ONE” to a shipper-customer subject to several subtractions,

including “amounts CARRIER ONE paid to Third Parties . . . including but not limited to fees or

commissions . . . paid to brokers.” (Id.) Thus, on its face, the 2019 Lease allows Carrier One to


                                                 21
  Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 22 of 45 PageID #:8723




do what it was not permitted to do under the 2017 Lease—subtract broker commissions from the

linehaul revenue against which the 80% compensation rate is applied. Nonetheless, Treadway

asserts that because Sarisa is an alter ego of Carrier One, and not a true third-party broker, the

2019 Lease does not clearly state his compensation because it fails to reveal that Carrier One is

essentially paying itself to broker its driver’s loads.

        The claimed Truth-in-Leasing violation here hinges on whether Treadway can prove that

Sarisa and Carrier One are one and the same. However, because neither Treadway nor

Defendants adequately develops their argument as to Sarisa’s alter-ego status, the Court denies

summary judgment to both with respect to the broker commissions under the 2019 Lease. First,

Defendants rely on caselaw applying a federal common law analysis to argue the point, while

Treadway contends that Illinois law governs. Neither Defendants nor Treadway make more than

a perfunctory argument as to why their chosen law is the correct one. To the extent Treadway is

correct that the alter-ego analysis is governed by state law, he incorrectly assumes that Illinois

law applies. But “Illinois follows the internal affairs doctrine as its choice-of-law principle in

cases alleging impropriety of corporate governance,” and that doctrine points to “the substantive

law of the state of incorporation.” Kellers Sys., Inc. v. Transp. Int’l Pool, Inc., 172 F. Supp. 2d

992, 1000 (N.D. Ill. 2001). Because Carrier One was incorporated in Delaware (PRDSF ¶ 42),

Delaware law rather than Illinois law would govern whether Sarisa was an alter ego of Carrier

One. As a final point, the Court notes that neither Treadway nor Carrier One sufficiently

demonstrates the absence of a genuine dispute of fact as to Sarisa’s alter-ego status regardless of

which test applies.

                C.      Undisclosed Chargebacks—2017 Lease

        Under 49 C.F.R. § 376.12(h), “[t]he lease shall clearly specify all items that may be

initially paid for by the authorized carrier, but ultimately deducted from the lessor’s


                                                  22
 Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 23 of 45 PageID #:8724




compensation at the time of payment or settlement, together with a recitation as to how the

amount of each item is to be computed.” Treadway claims that Carrier One violated this

provision by failing to disclose in the 2017 Lease how it charged him for fuel purchased with a

Carrier One-provided fuel card.

       The 2017 Lease makes the owner-operator “fully responsible for any and all costs, fees

and expenses incurred in connection with” the operation of his truck, including “fuel.” (PRDSF

¶ 33; 2017 Lease § 6(b).) At the same time, Carrier One received fuel discounts from various

truck stops and then provided its drivers with a fuel discount card allowing them to benefit from

its discounted rate. (PRDSF ¶ 46; PRDSAF ¶ 21.) When Treadway used his Carrier One-

provided fuel discount card to purchase fuel, the cost of the purchased fuel would appear as a

deduction on his settlement statement along with a $0.50 transaction fee. (DRPSF ¶ 28;

PRDSAF ¶ 17.) Then, once per month, Carrier One included a fuel rebate on Treadway’s

settlement statement passing on a portion of the discount that Carrier One received for fuel

purchased using the discount card. (DRPSF ¶¶ 29, 31; PRDSAF ¶ 21.)

       Treadway contends that Carrier One’s practices around the chargeback of fuel purchased

using its fuel discount card violated § 376.12(h). First, he notes that the 2017 Lease does not list

fuel purchases as a chargeback item. Further, Treadway asserts that the 2017 Lease fails to

disclose that he would be assessed a $0.50 per purchase transaction fee for fuel purchased using

a Carrier One fuel discount card. Finally, Treadway faults Carrier One for not making clear in

the 2017 Lease that it was not passing on the full amount of its fuel discount to the owner-

operator.

       The Court finds that Treadway has shown a straightforward violation of § 376.12(h) with

respect to his purchases on the Carrier One fuel discount card. Because Treadway’s purchase of




                                                 23
 Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 24 of 45 PageID #:8725




fuel using the fuel discount card was credited to Carrier One, not Treadway, it was Carrier One

that made each fuel purchase initially and then deducted it from Treadway’s compensation in the

settlement statement. Nowhere does the 2017 Lease mention the fuel discount card or fuel

chargebacks.

       Although Treadway has shown Carrier One’s violation of § 376.12(h), it is equally

straightforward that Treadway suffered no actual damages as a result of Carrier One’s

undisclosed chargeback of fuel purchased on its fuel discount card. On the contrary, the

undisputed facts show that Treadway saved money from his use of the fuel discount card.

Treadway was not required to use Carrier One’s fuel discount card and could have used his own

credit card to purchase fuel, but then he would not have received any discount on the purchase.

(PRDSAF ¶¶ 20–21.) That Carrier One assessed a small $0.50 transaction fee and retained a

portion of the fuel discount for itself does not prove Treadway was damaged by the Truth-in-

Leasing violation. See Owner-Operator Indep. Drivers Ass’n v. Swift Transp. Co., 632 F.3d

1111, 1122 (9th Cir. 2011) (“Plaintiffs cannot prove damages simply by showing that [the

carrier] sometimes charged more than its actual costs for charge-backs.”); C.R. England, 508 F.

Supp. 2d at 981–82 (“[C]harge-backs that include profits and fees are not per se unlawful under

§ 376.12(h); the Regulations do not preclude Defendant from making a profit.”).

       Because the 2017 Lease made Treadway solely responsible for his fuel costs, he

benefitted from paying less for fuel charged to Carrier One’s fuel discount card than what he

otherwise would have paid using his own credit card. Given that benefit, Treadway cannot show

actual damages simply because Carrier One also enjoyed some undisclosed benefit from his use

of the fuel discount card. For that reason, the Court grants summary judgment in favor of Carrier




                                               24
 Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 25 of 45 PageID #:8726




One on Treadway’s Truth-in-Leasing claim based on the 2017 Lease’s failure to provide

disclosures relating to the fuel discount card.

               D.      Disclosed Chargebacks—2017 Lease

       Schedule B to the 2017 Lease lists various deductions that Treadway agreed to have

taken from his compensation. (DRPSAF ¶ 15; 2017 Lease at 14.) Defendants agree that those

deductions are properly considered chargebacks but, because the deductions were properly

disclosed in the 2017 Lease, Defendants seek summary judgment as to them. (Treadway does not

move for summary judgment as to these items.)

       Treadway does not deny that the chargebacks listed in the 2017 Lease comply with

§ 376.12(h)’s requirement that chargebacks be clearly specified. Nonetheless, he contends that

the chargebacks run afoul of § 376.12(h) because the 2017 Lease provides no details as to how

the amount for each chargeback was computed. This is a violation, notwithstanding the fact that

the 2017 Lease states the amount of the chargeback or the rate at which the chargeback would be

assessed. See Port Drivers Fed’n 18, Inc. v. All Saints Express, Inc., 757 F. Supp. 2d 443, 455

(D.N.J. 2010) (“Courts have found that, even if the name and amount of the charge-back is

listed, the method by which the amount of the charge-back is computed is an essential

component in fulfilling the requirements of 49 C.F.R. § 376.12(h).”).

       Despite the disclosure issues with the chargebacks in the 2017 Lease, Defendants are

entitled to summary judgment due to Treadway’s failure to show a genuine dispute of fact as to

his damages. Only with respect to the 2017 Lease’s charges for occupational-accident insurance,

registration, and e-logs does Treadway assert damages in the form of undisclosed markups.

(DRPSAF ¶ 17.) Yet Treadway’s evidence that those items included markups is the 2019 Lease’s

disclosure of markups as to those items. (Id.) The Court cannot find a genuine dispute of fact

based solely on Treadway’s speculation that the 2017 Lease’s chargeback of those items must


                                                  25
 Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 26 of 45 PageID #:8727




have included a markup based on the 2019 Lease’s disclosure of markups. Thus, the Court grants

summary judgment in Defendants’ favor with respect to the 2017 Lease’s disclosed deductions.

               E.      Insurance Disclosures

       Treadway contends that both the 2017 Lease and the 2019 Lease failed to comply with

the Truth-in-Leasing regulation pertaining to insurance. In particular, § 376.12(j) states as

follows:

       (1) The lease shall clearly specify the legal obligation of the authorized carrier to
       maintain insurance coverage for the protection of the public pursuant to FMCA
       regulations under 49 U.S.C. 13906. The lease shall further specify who is
       responsible for providing any other insurance coverage for the operation of the
       leased equipment, such as bobtail insurance. If the authorized carrier will make a
       charge back to the lessor for any of this insurance, the lease shall specify the amount
       which will be charged-back to the lessor.

       (2) If the lessor purchases any insurance coverage for the operation of the leased
       equipment from or through the authorized carrier, the lease shall specify that the
       authorized carrier will provide the lessor with a copy of each policy upon the
       request of the lessor. Also, where the lessor purchases such insurance in this
       manner, the lease shall specify that the authorized carrier will provide the lessor
       with a certificate of insurance for each such policy. Each certificate of insurance
       shall include the name of the insurer, the policy number, the effective dates of the
       policy, the amounts and types of coverage, the cost to the lessor for each type of
       coverage, and the deductible amount for each type of coverage for which the lessor
       may be liable.

       (3) The lease shall clearly specify the conditions under which deductions for cargo
       or property damage may be made from the lessor’s settlements. The lease shall
       further specify that the authorized carrier must provide the lessor with a written
       explanation and itemization of any deductions for cargo or property damage made
       from any compensation of money owed to the lessor. The written explanation and
       itemization must be delivered to the lessor before any deductions are made.

49 C.F.R. § 376.12(j). The Court now addresses Treadway’s claimed violations with respect to

each of his leases.

                       1.      2017 Lease

       According to Treadway, the 2017 Lease violated all three subsections of § 376.12(j). He

points to the fact that his settlement statements reflect a weekly deduction of between $80 to


                                                 26
 Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 27 of 45 PageID #:8728




$184 per week for “TRUCK INSURANCE.” (DRPSF ¶ 32.) That insurance is different from the

occupational-accident insurance listed among Schedule B’s authorized deductions. (Id. ¶¶ 22–

23.) Yet Treadway contends that the 2017 Lease does not explain what this insurance is and why

it is being charged back to Treadway. Nor does the 2017 Lease state that Carrier One would

provide Treadway with a copy of the policy or a complete certificate of insurance for that policy.

Finally, the 2017 Lease does not address potential deductions for cargo or property damage.

       Defendants respond that the 2017 Lease fully complied with § 376.12(j). To begin, as

required under § 376.12(j)(1), Schedule C assigned Treadway the responsibility to maintain the

certain types of insurance, including non-trucking liability and deadhead insurance, and physical-

damage insurance covering the value of his truck. (PRDSF ¶¶ 30, 53; 2017 Lease at 15.) And

Defendants note that Carrier One did not offer that insurance coverage to Treadway, but he

instead purchased it through Impel Union contemporaneous with his execution of the Truck

Lease. (PRDSF ¶¶ 32, 44; PRDSAF ¶¶ 1, 15; DRPSAF ¶ 4.) Then, Treadway signed an

authorization form directing Carrier One to deduct “Weekly Truck/Trailer Insurance” from his

settlement statements with the amounts paid immediately to Impel Union. (PRDSF ¶¶ 54, 56, 58;

PRDSAF ¶ 15; Suppl. Smit Aff., Exs. 63, 68, Dkt. Nos. 137-6, 137-8.) Those weekly insurance

payments are what are deducted as “TRUCK INSURANCE” on Treadway’s settlement

statements. (PRDSAF ¶ 15.) Consequently, Defendants contend that the undisputed evidence

demonstrates that the 2017 Lease complied with § 376.12(j) by specifying Treadway’s

responsibility to maintain the insurance coverage corresponding to the weekly “TRUCK

INSURANCE” deduction. And because Treadway authorized that deduction to cover his

purchase of insurance from Impel Union, those deductions do not constitute chargebacks

mandating any further disclosures under § 376.12(j).




                                               27
    Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 28 of 45 PageID #:8729




          Even accepting Defendants’ evidence showing that Treadway nominally purchased

certain insurance through Impel Union, Treadway contends that Carrier One cannot use Impel

Union as a shield against its obligations under § 376.12(j) given the close relationship between

the two companies. Notably, Treadway’s argument is not premised on the contention that Impel

Union and Carrier One are alter egos. Rather, Treadway cites a case finding that “entities

‘affiliated’ with registered motor carriers” are themselves covered by the Truth-in-Leasing

regulations. Owner-Operator Indep. Drivers Ass’n v. Arctic Express, Inc., 87 F. Supp. 2d 820,

828 (S.D. Ohio 2000).8 And “common ownership” and “common officers” would be enough to

establish such affiliation. Id. at 829. To the extent a mere affiliation between Carrier One and

Impel Union is enough to make Carrier One liable under § 376.12(j), the Court finds the

evidence of their affiliation lacking, supported largely by an exhibit to a complaint filed in a

separate action not involving Treadway. (See DRPSF ¶ 55.9)

          In any case, assuming that the 2017 Lease or any agreement he had with Impel Union did

not comply with § 376.12(j), Treadway fails to adduce evidence of how any violation damaged

him. See Cunningham, 662 F. Supp. 2d at 1275 (rejecting the plaintiffs’ request for a full refund

of deductions for insurance premiums absent a showing of how the § 376.12(j) violation caused

them harm). He offers no evidence showing that Impel Union did not, in fact, provide proper

insurance in exchange for his payments. Nor does Treadway come forward with evidence that he

could have saved money on the requisite insurance coverage or avoided some other expense had

Carrier One or Impel Union provided the disclosures required by § 376.12(j). Thus, the Court




8
 Unlike here, the affiliated entity was itself a defendant in Arctic Express. See Arctic Express, 87 F.
Supp. 2d at 821, 829.
9
    This is the one instance where Defendants’ objection to a Treadway factual assertion is well taken.



                                                      28
 Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 29 of 45 PageID #:8730




grants summary judgment in Defendants’ favor and denies summary judgment to Treadway with

respect to Treadway’s claim that the 2017 Lease failed to comply with § 376.12(j).

                      2.      2019 Lease

       In Schedule B to the 2019 Lease, there is a page that allowed Treadway to elect whether

he wanted to obtain physical-damage insurance from or through Carrier One. (DRPSF ¶ 69; 2019

Lease at 27.) While Treadway initialed “YES,” thus indicating that he wanted the insurance

charged back to him, there were blanks where Carrier One was meant to provide information

about the insurance and its cost. (Id.) The Court agrees that, by showing that Carrier One failed

to provide the information required under § 376.12(j), Treadway has proved a violation of the

Truth-in-Leasing regulations. However, Treadway does not show how the 2019 Lease’s

§ 376.12(j) violation caused him any damage. Though Treadway claims he is entitled to a full

refund of the amounts he paid on this insurance, as above, he fails to show that he was not

actually receiving appropriate insurance or that he could have saved money on the insurance he

received had Carrier One provided the disclosures required under § 376.12(j). For that reason,

the Court grants Defendants’ motion for summary judgment and denies Treadway’s motion as to

the § 376.12(j) claim under the 2019 Lease.

               F.     Escrow Funds

       The final alleged Truth-in-Leasing violation at issue in the parties’ motions arises under

the escrow funds provisions of § 376.12(k). Under that regulation:

       If escrow funds are required, the lease shall specify:

       (1) The amount of any escrow fund or performance bond required to be paid by the
       lessor to the authorized carrier or to a third party.

       (2) The specific items to which the escrow fund can be applied.

       (3) That while the escrow fund is under the control of the authorized carrier, the
       authorized carrier shall provide an accounting to the lessor of any transactions


                                                29
     Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 30 of 45 PageID #:8731




         involving such fund. The carrier shall perform this accounting in one of the
         following ways:

            (i) By clearly indicating in individual settlement sheets the amount and
            description of any deduction or addition made to the escrow fund; or

            (ii) By providing a separate accounting to the lessor of any transactions
            involving the escrow fund. This separate accounting shall be done on a monthly
            basis.

         (4) The right of the lessor to demand to have an accounting for transactions
         involving the escrow fund at any time.

         (5) That while the escrow fund is under the control of the carrier, the carrier shall
         pay interest on the escrow fund on at least a quarterly basis. For purposes of
         calculating the balance of the escrow fund on which interest must be paid, the
         carrier may deduct a sum equal to the average advance made to the individual lessor
         during the period of time for which interest is paid. . . .

         (6) The conditions the lessor must fulfill in order to have the escrow fund returned.
         At the time of the return of the escrow fund, the authorized carrier may deduct
         monies for those obligations incurred by the lessor which have been previously
         specified in the lease, and shall provide a final accounting to the lessor of all such
         final deductions made to the escrow fund. The lease shall further specify that in no
         event shall the escrow fund be returned later than 45 days from the date of
         termination.

Id. Section 376.12(k), “through its comprehensive delineation of responsibilities, imposes strict

fiduciary obligations on motor carriers, such that it places the motor carriers in a position of trust

vis-à-vis owner-operators with regard to the handling of escrow funds.” In re Arctic Express Inc.,

636 F.3d 781, 794 (6th Cir. 2011). For purposes of the regulation, an escrow fund means

“[m]oney deposited by the lessor [owner-operator] with either a third party or to the lessee to

guarantee performance, to repay advances, to cover repair expenses, to handle claims, to handle

license and State permit costs, and for any other purposes mutually agreed upon by the lessor and

lessee.” Id. (quoting 49 C.F.R. § 376.2(l)).10



10
  Defendants’ motion for summary judgment does not specifically address Treadway’s claimed escrow-
funds violation. Insofar as Defendants seek summary judgment on this claim, it appears they do so only


                                                  30
  Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 31 of 45 PageID #:8732




         Schedule B to the 2017 Lease authorizes deductions for a $0.05 per mile charge going to

a maintenance fund and a $1000 trailer security deposit, to be deducted in 20 weekly installments

of $50. (DRPSF ¶ 22.) Defendants do not dispute Treadway’s claim that each of those

deductions went to the creation and maintenance of an escrow fund under § 376.12(k). Yet the

2017 Lease provides no further elaboration on what the maintenance fund or trailer security

deposit covers, and Defendants make no attempt to explain how the 2017 Lease complied with

the obligations imposed by § 376.12(k). Thus, Treadway has established that the 2017 Lease

violated § 376.12(k).

         Subsequently, when he signed the 2019 Lease, Treadway also executed the Addendum to

the 2019 Lease, which lists several deductions to be paid to Impel Union and were supposedly

voluntary. (DRPSF ¶¶ 66, 68, 71.) One of the deductions in the Addendum to 2019 Lease was

for “Truck Maintenance.” (Id. ¶ 68.) But Treadway blacked out the blank meant for the rate of

the amount of the per mile charge, thereby indicating his intention to opt out of the voluntary

fund. (Id. ¶ 69.) Still, Carrier One continued to take a $0.05 per mile deduction from Treadway’s

settlement statements. (Id.) When it terminated Treadway, Carrier One did not reimburse the

$3,376.95 balance in his maintenance fund or any portion of the $1,000 security deposit. (Id.

¶ 80.)

         The Court finds that the 2019 Lease gave Carrier One no basis for making deductions

toward a voluntary maintenance fund, since Treadway did not agree to an amount to be deducted

per mile. By nonetheless continuing to take maintenance fund deductions, Carrier One was not

complying with § 376.12(k)(1)’s direction that a lease specify “[t]he amount of any escrow fund



under their generally applicable contention that Treadway failed to establish his actual damages from any
Truth-in-Leasing violation.



                                                   31
 Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 32 of 45 PageID #:8733




or performance bond required to be paid” by the owner-operator. Nor was Carrier One entitled to

continue to deduct $0.05 per mile pursuant to Treadway’s authorization of that deduction in the

2017 Lease. Rather, the 2019 Lease expressly states that it “fully replaces and supersedes all

prior and contemporaneous agreements, representations, and understandings, except as provided

in Section 27 of this Agreement.” (2019 Lease § 20(e).) Section 27 then provides that

“[b]alances in escrow funds created under any previous written agreement between the parties

will be credited to the Escrow Fund created under this Agreement (if any).” (Id. § 27.) These

provisions therefore make clear that Carrier One cannot invoke the 2017 Lease to justify its

continued deduction of $0.05 per mile toward the maintenance fund. In taking and retaining

funds to which the 2019 Lease provided it no entitlement, Carrier One violated § 376.12(k).

       Turning to damages, the Court has already noted that Treadway can demonstrate an

injury from Carrier One’s failure to pay interest on its escrow deductions and then return those

deductions after it terminated Treadway. As to interest, Treadway claims that Carrier One did not

pay interest on either his trailer security deposit or his maintenance fund but points to no

evidence in support of that fact. Nor does he submit any estimate of the interest he should have

earned on those funds.

       There is no genuine dispute, however, that Carrier One never returned any portion of

Treadway’s two escrow funds. (DRPSF ¶¶ 77, 80.) Carrier One contends that it “reimbursed”

those funds by using them to pay off negative balances Treadway owed to Carrier One at the

time of his termination. (Id.) But the 2017 Lease was silent as to escrow funds, meaning it did

not comply with § 376.12(k)(2)’s requirement that it state “[t]he specific items to which the

escrow fund can be applied.” Moreover, § 376.12(k)(6) makes clear that Carrier One could only

“deduct monies for those obligations incurred by the [owner-operator] which have been




                                                 32
 Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 33 of 45 PageID #:8734




previously specified in the lease.” Carrier One specified nothing in the 2017 Lease and, as such,

had no right to deduct anything from Treadway’s escrow funds. Certainly, Carrier One was not

entitled to use the money in Treadway’s escrow funds to settle all the obligations that it deemed

him to owe at the time of his termination. See Owner-Operator Indep. Drivers Ass’n v. Ledar

Transp., No. 00-0258-CV-W-FJG, 2004 WL 5249148, at *2 (W.D. Mo. Dec. 30, 2004) (“By

failing to specify the items that may be deducted from the security deposit, [the carrier] has

transformed the security deposit into a general fund to satisfy any obligations incurred by

[owner-operators], which is a violation of the letter and spirit of the regulations.” (internal

quotation marks and citations omitted)); cf. Owner Operator Indep. Drivers Ass’n v. Arctic

Express, Inc., 159 F. Supp. 2d 1067, 1078 (S.D. Ohio 2001) (“When the Defendants provided for

everything to be covered by the maintenance fund, they, in reality, specified nothing.”). Finally,

Treadway suffered actual damages from Carrier One’s continued maintenance fund deductions

after the 2019 Lease went into effect. By taking money not authorized by the 2019 Lease, Carrier

One paid Treadway less than what it had promised him.

       In sum, Treadway has established that Carrier One took money for escrow funds without

complying with § 376.12(k), and that he was damaged by Carrier One’s failure to return those

deductions in full. For these reasons, the Court grants Treadway summary judgment as to his

escrow-funds Truth-in-Leasing claim and denies Defendants’ motion. As to the trailer security

deposit, the Court awards summary judgment for the full $1,000 that Carrier One retained. By

contrast, the Court declines to enter summary judgment at this time regarding the amount of

Treadway’s maintenance-fund-related damages. Treadway’s presentation of his evidence on his

maintenance fund damages creates uncertainty as to his requested award. Specifically, in a

summary table in his summary judgment brief, Treadway seems to claim three figures as




                                                  33
 Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 34 of 45 PageID #:8735




damages from Carrier One’s § 376.12(k) violation: the $4,120.90 in maintenance fund

deductions taken when the 2019 Lease was in effect; the $3,338.81 that Carrier One withdrew

from Treadway’s maintenance fund prior to terminating Treadway; and the $3,376.95 balance in

the maintenance fund at the time of his termination. (Pl.’s Br. in Supp. of Mot. for Summ. J. at

20–21, Dkt. No. 115; see also DRPSF ¶¶ 71, 80.) At the same time, his brief includes this

asterisk: “To the extent that any of these amounts are duplicative, Plaintiffs acknowledge that

judgment should be reduced by the amount of duplication.” (Pl.’s Br. in Supp. of Mot. for

Summ. J. at 21.) With that caveat, Treadway apparently concedes that he does not have a final

figure for his maintenance fund damages. Without that information, the Court cannot enter

summary judgment as to the amount of those damages.

       II.     IWPCA

       With his IWPCA claim, Treadway seeks to recoup from Defendants the allegedly

wrongful deductions that they took from his compensation along with other unreimbursed

business expenses. The IWPCA allows employees to sue their employer for the timely and

complete payment of earned wages and prohibits employers from taking unauthorized

deductions from employees’ wages. Enger v. Chi. Carriage Cab Corp., 812 F.3d 565, 568 (7th

Cir. 2016); Costello v. BeavEx, Inc., 810 F.3d 1045, 1050 (7th Cir. 2016). It applies to all

“employers and employees in [Illinois].” 820 ILCS 115/1. To prove an IWPCA claim, an

employee must “demonstrate that they are owed compensation from defendants pursuant to an

employment agreement.” Enger, 812 F.3d at 568.

       In his motion, Treadway begins with the threshold issue of whether he is an “employee”

covered by the IWPCA and then argues that he is entitled to reimbursement of certain sums

owed by Carrier One. Defendants’ motion also begins with a threshold issue concerning the

IWPCA’s extraterritorial reach and then goes on to argue that they fully complied with the


                                                34
 Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 35 of 45 PageID #:8736




IWPCA. Further, Defendants assert that, to the extent Carrier One may be liable under the

IWPCA, the Court should nonetheless rule that Samarov cannot be held individually liable. The

Court begins with the two threshold issues before turning to matters concerning Defendants’

respective liability under the IWPCA.

               A.      Extraterritorial Application

       Returning to an issue previously raised in their motion to dismiss, Defendants contend

that the undisputed evidence establishes that Treadway, a nonresident of Illinois, did not perform

enough work in Illinois to maintain a claim under the IWPCA. Seventh Circuit precedent holds

that the IWPCA does not have an “extraterritorial reach.” Glass v. Kemper Corp., 133 F.3d 999,

1000 (7th Cir. 1998). Rather, the IWPCA’s “evident purpose is to protect employees in Illinois

from being stiffed by their employers.” Id. Accordingly, the IWPCA does not apply to out-of-

state residents who conduct no work in Illinois. Id. At the same time, the IWPCA’s “applicability

to nonresidents who perform their work in Illinois for an instate employer is sufficiently clear.”

Adams v. Catrambone, 359 F.3d 858, 864 (7th Cir. 2004).

       As this Court explained in its motion to dismiss ruling, “district courts have applied Glass

and Adams to find that the IWPCA ‘does not apply simply because an employee has performed

any work in Illinois for an Illinois employer.’” Niiranen, 2022 WL 103722, at *3 (quoting

Cohan v. Medline Indus., Inc., 170 F. Supp. 3d 1162, 1174–75 (N.D. Ill. 2016)). While the Court

recognized that “[n]o court of binding authority has set forth a minimum quantum of work in

Illinois to qualify as an employee under the [IWPCA],” it reserved the question of whether

Treadway performed enough work in Illinois for the summary judgment stage. Id. at *3–4

(quoting Yata v. BDJ Trucking Co., No. 17 cv 3503, 2018 WL 3303290, at *5 (N.D. Ill. July 5,

2018)). Now, that question is squarely before the Court.




                                                35
 Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 36 of 45 PageID #:8737




       At all relevant times, Treadway was a Texas resident. (PRDSF ¶ 23.) And, for the

majority of his time driving for Carrier One, Carrier One was an Illinois employer. (DRPSF ¶¶ 9,

20, 80; PRDSF ¶¶ 38, 43.) Whereas Carrier One claims that the evidence shows Treadway only

drove 8.8% of his loads in Illinois, Treadway asserts that the evidence supports a 13.1% figure.

(PRDSF ¶ 39.) Even if Treadway performed only 8.8% of his work in Illinois, that is enough

work for him to maintain a claim under the IWPCA on the facts here. Especially given the

context of Treadway’s work as an over-the-road driver, the percentage of the time Treadway

spent driving in Illinois is less important than the nexus his assigned work had with the State. In

that respect, Treadway’s work in Illinois is better measured by the destinations from where

Treadway’s loads were coming or going. Over the three-year period Treadway worked for

Carrier One, about 71 of his loads originated in Illinois and 66 were delivered to a destination in

Illinois. (DRPSAF ¶ 25.) That evidence shows that Treadway had regular contacts with Illinois,

and his contacts were directly in service of Carrier One’s Illinois-based business interests.

       Next, Carrier One contends that the IWPCA ceased to apply when Carrier One moved its

headquarters to Indiana. Yet Carrier One offers no legal support for that proposition. The Court

finds that Carrier One has waived that argument by failing to develop it properly. And in any

case, “courts have allowed IWPCA claims against employers that are organized and

headquartered in a different state when there are allegations of substantial in-state activity.”

Parise v. Integrated Shipping Sols., Inc., 292 F. Supp. 3d 801, 807 (N.D. Ill. 2017) (internal

quotation marks omitted). Carrier One continued to conduct substantial activity in Illinois, as it

was registered there as a foreign corporation and had a registered agent there. (DRPSAF ¶ 26.)

Meanwhile, Treadway continued to deliver loads that either originated or terminated in Illinois.

(Id. ¶ 25.) Finally, the 2019 Lease governing Treadway’s relationship with Carrier One expressly




                                                 36
  Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 37 of 45 PageID #:8738




stated the 2019 Lease and any claim or dispute arising under it would be governed by Illinois

law. (Id. ¶ 35.)

        Because Treadway had regular contacts with Illinois directly related to his work for

Carrier One, the Court concludes that Treadway performed enough work in Illinois to maintain

his IWPCA claim. In so holding, the Court expresses no opinion on where exactly the minimum

quantum of work should be set for IWPCA coverage; it concludes only that Treadway’s work

clears that threshold.

                   B.    Covered Employee

        The second threshold issue concerns whether Treadway qualifies as an employee under

the IWPCA. Independent contractors are not employees covered by the IWPCA. Lane v. Le

Brocq, No. 15 C 6177, 2016 WL 5955536, at *4 (N.D. Ill. Oct. 12, 2016). But the IWPCA

regards all individuals who work for an employer to be an employee unless they meet the

statute’s independent-contractor exemption, which excludes from the statutory definition of an

employee any individual:

        (1) who has been and will continue to be free from control and direction over the
        performance of his work, both under his contract of service with his employer and
        in fact; and

        (2) who performs work which is either outside the usual course of business or is
        performed outside all of the places of business of the employer unless the employer
        is in the business of contracting with third parties for the placement of employees;
        and

        (3) who is in an independently established trade, occupation, profession or business.

820 ILCS 115/2. Commonly known as the “ABC test,” this “test is conjunctive, meaning that if

an employer cannot satisfy each of the prongs, then the individual must be classified as an

employee for purposes of the IWPCA.” Costello, 810 F.3d at 1050. Thus, while Treadway only




                                                 37
     Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 38 of 45 PageID #:8739




argues based on the first and second prongs, he need only satisfy one to establish his employee

status for purposes of the IWPCA.

         Here, the Court finds that there is no dispute of material fact that Treadway’s work for

Carrier One was within its usual course of business and performed in its normal places of

business. “[W]hen considering the usual course of business of the employing unit, the . . . . key

to this inquiry is whether the services are necessary to the business of the employing unit or

merely incidental.” Carpetland USA, Inc. v. Ill. Dep’t of Emp. Sec., 776 N.E.2d 166, 186 (Ill.

2002). Carrier One’s usual course of business is the over-the-road transportation of freight.

(DRPSF ¶ 1.) As one of the drivers tasked with transporting freight for Carrier One’s customers,

Treadway’s work is essential to Carrier One’s business. See Carpetland, 776 N.E.2d at 186

(“When one is in the business of dispatching limousines, the services of chauffeurs are provided

in the usual course of business because the act of driving is necessary to the business.”); C.R.

England, Inc. v. Dep’t of Emp. Sec., 7 N.E.3d 864, 876 (Ill. App. Ct. 2014) (“[F]reight-hauling

and motor carrier business would not exist without drivers . . . to lease and drive the trucks and

haul the freight.”).11 Similarly, given the nature of a freight transportation business, Carrier

One’s place of business encompasses the roadways on which its drivers travel. See Prokhorov v.

IIK Transp., Inc., No. 20 CV 6807, 2024 WL 3694523, at *8 (N.D. Ill. Aug. 7, 2024) (“[The

motor carrier’s] place of business extended to the delivery routes that drivers took regardless of

whether those routes crossed state lines.”); C.R. England, 7 N.E.3d at 877 (holding that, given

the nature of a freight-hauling business, the motor carrier’s usual place of work encompassed “all




11
 Both Carpetland and C.R. England are decisions addressing the Illinois Unemployment Insurance
Act’s independent-contractor exemption, which sets forth a substantially similar ABC test as here.
Compare 820 ILCS 405/212, with 820 ILCS 115/2.



                                                  38
     Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 39 of 45 PageID #:8740




the locations where [its drivers] provided these freight hauling services,” including the roadways

and pick-up and drop-off points).

         Defendants cannot credibly contest that Treadway’s work was performed both in Carrier

One’s usual course of business and at its usual places of business. Accordingly, the Court finds

that the undisputed facts demonstrate that Defendants cannot satisfy the second prong of the

IWPCA’s independent-contractor exemption, and therefore, Treadway is an employee who may

assert an IWPCA claim.

                C.      Prohibited Deductions

         Turning to the merits of Treadway’s IWPCA claim, Treadway first contends that

Defendants violated the IWPCA by taking improper deductions from his compensation in the

weekly settlement statements. Under 820 ILCS 115/9, an employer is prohibited from taking

deductions from an employee’s wages unless the deduction meets one of certain statutory

criteria. Relevant here, a deduction is not prohibited if it is “to the benefit of the employee,” or

“made with the express written consent of the employee, given freely at the time the deduction is

made.” Id.12

                        1.      Written Consent

         First, Defendants argue that Treadway gave his express written consent to the deductions

listed in the Schedule B to each of the 2017 Lease and the 2019 Lease when he executed those

documents. In assessing whether an employee gave his written consent for deductions, courts




12
  The IWPCA also permits deductions when “required by law.” 820 ILCS 115/9. Defendants briefly
suggest that their deductions were required by the Truth-in-Leasing regulations. The Court rejects that
perfunctory and underdeveloped argument—Defendants cite no Truth-in-Leasing regulation that
affirmatively requires an authorized carrier to take a deduction or make a chargeback, nor is the Court
aware of one.



                                                    39
     Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 40 of 45 PageID #:8741




consult the applicable state regulation implementing the IWPCA. E.g., Prokhorov, 2024 WL

3694523, at *9. The version applicable here states that:

         a) Any written agreement between employer and claimant permitting or authorizing
         deductions from wages or final compensation must be given freely at the time the
         deduction is made. . . .

         b) When a deduction is to continue over a period of time and the written agreement
         provides for that period of time, provides for the same amount of deduction each
         period and allows for voluntary withdrawal for the deduction, the agreement shall
         be considered to be given freely at the time the deduction is made.

Ill. Admin. Code tit. 56, § 300.720 (2014).13

         With respect to Schedule B’s one-time deductions—$30 for “MVR/PSP,” $60 for a

“Drug screen,” and $30 for certain state permits, all taken from Treadway’s first settlement

statement (PRDSF ¶ 35)—the Court finds no genuine dispute of material fact as to whether

Treadway provided express written consent. He did. Those deductions were taken only once, and

Schedule B to the 2017 Lease clearly specifies how much would be taken for those deductions.

Treadway raises no substantive argument with respect to those three deductions.

         By contrast, Schedule B also authorizes several ongoing deductions. One category of

such deductions consisted of deductions to be taken at a specified amount per week. (DRPSF

¶ 22; PRDSF ¶¶ 32, 34; 2017 Lease at 14; 2019 Lease at 24–25.) The other category was

comprised of deductions assessed at a specified rate charged per mile. (Id.) Since both categories

of deductions continued over a period of time, they must comply with Ill. Admin. Code. tit. 56,

§ 300.720(b). However, Defendants do not point to a provision in either the 2017 Lease or the

2019 Lease allowing for voluntary withdrawal of any of those deductions. E.g., Piquion, 2023

WL 8113379, at *19 (finding that express written consent was not given for ongoing deductions


13
  The regulation was amended in 2023, but the Court consults the prior version of the regulation since
that was the version in effect at all times relevant to this case. Prokhorov, 2024 WL 3694523, at *9.



                                                   40
 Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 41 of 45 PageID #:8742




where “[n]othing in the [relevant written agreement] suggests that Plaintiffs could have

voluntarily withdrawn from the challenged deductions”). Moreover, the category of deductions

assessed at a rate charged per mile appears to run afoul of the requirement that the deduction be

the same per period. E.g., Noe v. Smart Mortg. Ctrs., Inc., No. 1:21-CV-01668, 2024 WL

4346562, at *14 (N.D. Ill. Sept. 29, 2024) (explaining that proper consent is not provided where

the agreement did “not provide for specific or predictable amounts of deductions”). Thus, the

Court concludes that Defendants did not obtain Treadway’s freely given written consent for any

of the ongoing deductions.

                      2.      To the Employee’s Benefit

       Defendants assert that the deductions were all to Treadway’s benefit. Whether a

deduction is to the benefit of the employee turns on whether the deduction itself benefits the

employee as opposed to the underlying expense. Bell v. Bimbo Food Bakeries Distrib., Inc., No.

11 C 03343, 2013 WL 6253450, at *4 (N.D. Ill. Dec. 3, 2013). For most of the challenged

deductions, Defendants make conclusory statements about the benefit Treadway received but

offer no evidentiary support. Such unadorned claims of a benefit do not suffice to demonstrate

the absence of a genuine dispute of fact.

       Nonetheless, the Court does find that Defendants have substantiated the benefit of

deductions from Treadway’s settlement statements associated with Treadway’s use of the fuel

discount card. Those deductions allowed Treadway to take advantage of the fuel discount Carrier

One negotiated with various truck stops—the fuel was initially charged to Carrier One to trigger

its discount and then deducted at a discounted rate from Treadway’s settlement statements.

(PRDSF ¶ 46.) Defendants are therefore entitled to summary judgment but only for the

deductions associated with the purchased fuel. By contrast, Defendants fail to show how




                                                41
 Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 42 of 45 PageID #:8743




Treadway benefitted from the deduction of the $0.50 transaction fee applicable to each use of the

fuel discount card.

                  D.   Unreimbursed Expenses

       For his part, Treadway seeks summary judgment with respect to his claim for

reimbursement of the weekly truck insurance deductions and escrow fund deductions that Carrier

One took from his compensation. Pursuant to 820 ILCS 115/9.5(a), “[a]n employer shall

reimburse an employee for all necessary expenditures or losses incurred by the employee within

the employee’s scope of employment and directly related to services performed for the

employer.” As used in the statute, “‘necessary expenditures’ means all reasonable expenditures

or losses required of the employee in the discharge of employment duties and that inure to the

primary benefit of the employer.” Id. Treadway contends that he is entitled to reimbursement for

the total sum of the truck insurance and escrow fund deductions, as those deductions constituted

expenses that he incurred within the scope of his employment and directly related to his freight-

hauling duties.

       As an initial matter, the Court finds that Defendants waived their two arguments against

Treadway’s claim based on 820 ILCS 115/9.5(a) by raising them in a manner that deprived

Treadway of an opportunity to respond. In their reply in support of their motion for summary

judgment, Defendants argue that because 820 ILCS 115/9.5(a) was only enacted on January 1,

2019, Treadway’s claim for expenses from before that date should be stricken. That was an

argument Defendants could have raised in their opposition to Treadway’s motion for summary

judgment, such that Treadway could respond in his reply. Instead, Defendants decided to first

assert it in their reply to their own motion for summary judgment, leaving Treadway with no

opportunity to respond. It is therefore waived. E.g., White v. United States, 8 F.4th 547, 552 (7th

Cir. 2021) (“[A]rguments raised for the first time in [a] reply brief are waived because they leave


                                                42
 Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 43 of 45 PageID #:8744




no chance to respond.”). Likewise, in a notice of supplemental authority, Defendants point to a

case in which the district court rejected a claim for reimbursement under 820 ILCS 115/9.5 due

to the plaintiff’s failure to submit expenses for reimbursement to his employer. (Dkt. No. 164.)

That argument could have been raised in any of Defendants’ briefs since the statute itself

imposes that requirement: “An employee shall submit any necessary expenditure with

appropriate supporting documentation within 30 calendar days after incurring the expense . . . .”

820 ILCS 115/9.5(a). The Court will not entertain an argument that was only raised after the

briefing schedule had closed.

       As to Treadway’s requested reimbursements, the Court finds that he is entitled to have

his escrow fund deductions returned to him. For the reasons discussed above, Carrier One treated

those contributions as akin to a general fund to cover what it claimed were Treadway’s unpaid

obligations. Thus, Treadway is entitled to recover those deductions in full pursuant to 820 ILCS

115/9.5(a). The Court also agrees that Treadway is entitled to be reimbursed for his truck

insurance payments. While the truck insurance deductions were transferred immediately to Impel

Union, the insurance coverage was required by Carrier One per Schedule C to both the 2017

Lease and the 2019 Lease. (DRPSAF ¶ 4; 2017 Lease at 15–16; 2019 Lease at 29–31.) Further,

both the 2017 Lease and the 2019 Lease required Treadway to name Carrier One as an additional

insured on the insurance policies that it required him to obtain. (2017 Lease at 16; 2019 Lease at

31.) This evidence establishes that Treadway’s truck insurance expenditures were required,

necessary, and inured to Carrier One’s benefit.

       Because Treadway has shown he is entitled to be reimbursed for his expenses related to

the escrow funds and his truck insurance, the Court grants his motion for summary judgment as

to those two IWPCA claims. As the Court noted above, the Court cannot find that there is no




                                                  43
 Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 44 of 45 PageID #:8745




dispute of material facts as to the damages award with respect to the escrow funds. For the truck

insurance payments, it is undisputed that Defendants deducted $27,876 total from Treadway’s

compensation. (DRPSF ¶ 36.) Accordingly, Treadway is granted summary judgment with

respect to that amount on his truck insurance reimbursement claim.

               E.      Other Compensation Owed

       Finally, Treadway contends that he is entitled to reimbursement of the amounts withheld

from his 80% share of revenue supposedly to compensate Carrier One’s broker, Sarisa. As

discussed above, under the 2017 Lease, Carrier One was not permitted to subtract broker

commissions from the gross revenue figure. Consequently, Treadway is entitled to recover that

sum pursuant to the IWPCA. On the other hand, there remain questions of fact as to whether

Sarisa’s broker commissions were improperly withheld under the 2019 Lease. The Court

therefore grants Treadway summary judgment only as to his recovery under the 2017 Lease.

               F.      Samarov’s Individual Liability

       To the extent Carrier One may be liable for IWPCA violations, Defendants ask that the

Court enter summary judgment holding that Samarov is not individually liable for any violations.

The IWPCA provides that, in addition to the employer, “any officers of a corporation or agents

of an employer who knowingly permit such employer to violate the provisions of [the IWPCA]

shall be deemed to be the employers of the employees of the corporation.” 820 ILCS 115/13.

“Courts in this district have interpreted ‘knowingly permit’ to mean advise, consent, affect, or

consult.” Gibbs v. ABT Elecs., Inc., No. 21 CV 6277, 2022 WL 16540182, at *4 (N.D. Ill. Oct.

28, 2022) (internal quotation marks omitted).

       In his deposition, Samarov testified that he “was the one developing the compensation

structure for all the [drivers] that we were contracting” and had knowledge of the terms of all the

lease agreements he presented to his drivers. (DRPSAF ¶ 37.) That testimony regarding


                                                44
  Case: 1:20-cv-06781 Document #: 171 Filed: 03/22/25 Page 45 of 45 PageID #:8746




Samarov’s involvement in deciding Carrier One’s drivers’ compensation creates at least a

dispute of fact as to his individual liability for Carrier One’s IWPCA violations, and Defendants

counter that testimony with no evidence of their own. Accordingly, this Court concludes that

there is a genuine issue of fact as to whether Samarov knowingly permitted Carrier One’s

IWPCA violations and denies Defendants’ request for summary judgment as to Samarov’s

individual liability.

        III.      Breach of Contract

        Although Defendants request summary judgment on Treadway’s breach of contract

claim, they never substantively address that claim in their briefs. Given Defendants’ failure to

develop any argument against it, the Court denies them summary judgment as to the breach of

contract claim.

                                         CONCLUSION

        For the foregoing reasons, Defendants’ motion to strike (Dkt. No. 131) is denied, and

Defendants’ motion for summary judgment (Dkt. No. 112) and Treadway’s motion for partial

summary judgment (Dkt. No. 115) are each granted in part and denied in part.



                                                     ENTERED:



Dated: March 21, 2025                                __________________________
                                                     Andrea R. Wood
                                                     United States District Judge




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